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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                      11/03/2021
 Sirius XM Radio Inc.,

                                  Plaintiff,
                                                           1:21-cv-06963 (GHW) (SDA)
                      -against-
                                                           ORDER
 Aura Multimedia Corporation et al.,

                                  Defendants.


STEWART D. AARON, United States Magistrate Judge:

       Following a telephone conference, for which only the Plaintiff appeared, it is hereby

Ordered that, no later than November 10, 2021, Plaintiff shall seek Certificates of Default from

the Clerk of Court.

SO ORDERED.

DATED:         New York, New York
               November 3, 2021

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                                                STEWART D. AARON
                                                United States Magistrate Judge
